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O'BRIEN, BELLAND & BUSHINSKY, LLC
509 S. Lenola Road
Building 6
Moorestown, New Jersey 08057
(856) 795-2181
By: Steven J. Bushinsky, Esquire

Attorneys for Plaintiffs
                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

TRUSTEES OF INTERNATIONAL UNION
OF PAINTERS AND ALLIED TRADES
DISTRICT COUNCIL 711 HEALTH &
WELFARE FUND; TRUSTEES OF
INTERNATIONAL UNION OF PAINTERS                    Civil Action No.:
AND ALLIED TRADES DISTRICT
COUNCIL 711 VACATION FUND;
TRUSTEES OF PAINTERS DISTRICT
COUNCIL 711 FINISHING TRADES
INSTITUTE; INTERNATIONAL UNION OF
PAINTERS AND ALLIED TRADES
DISTRICT COUNCIL 711 HEALTH &                              COMPLAINT
WELFARE FUND; INTERNATIONAL
UNION OF PAINTERS AND ALLIED
TRADES DISTRICT COUNCIL 711
VACATION FUND; PAINTERS DISTRICT
COUNCIL 711 FINISHING TRADES
INSTITUTE; AND INTERNATIONAL
UNION OF PAINTERS AND ALLIED
TRADES DISTRICT COUNCIL 711 ;

                                   Plaintiffs, !


CLAREMONT CONSTRUCTION GROUP,                  ·
INC.

                                  D efendant. !
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       Plaintiffs, by and through undersigned counsel, state as follows:

                             JURISDICTION AND VENUE

       1.    The jurisdiction of this Court is invoked pursuant to Sections

502(e)(l) and (f) and 515 of the Employee Retirement Income Security Act of

1974 ("ERISA"), 29 U.S.C. §l 132(e)(l) and (f) and § 1145 respectively, and §30 1

of the Labor Management Relations Act ("LMRA"), and 29 U.S.C. § 185; and 28

U.S.C. §1331.

       2.    This Court is one of proper venue pursuant to Section 502(e )(2) of

BRISA, 29 U.S.C. § l 132(e)(2), and Section 301 of the LMRA, 29 U.S.C. § 185

because the Plaintiff Trust Funds are administered in the State of New Jersey, the

Plaintiff Union 's work jurisdiction and administration is in the State of New

Jersey, the breach took place in New Jersey, and Defendant maintained or

maintains a principal place of business in the State of New Jersey.

       3.    A copy of this Complaint is being served on the Secretary of Labor and

the Secretary of the Treasury of the United States by certified mail in accordance

with 29 U.S.C. § l 132(h).

                                     PARTIES

       4.    Plaintiffs, Trustees of International Union of Painters and Allied

Trades District Council 711 Health & Welfare Fund ("Health Fund") are the

employer and employee trustees of a labor-management trust fund organized and



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operated pursuant to a Trust Agreement and Collective Bargaining Agreement

("CBA") in accordance with Section 302(c)(5) ofLMRA, 29 U.S.C. §186(c)(5).

The Health Fund is an employee benefit plan within the meaning of Section 3(3) of

ERISA, 29 U.S.C. § 1002(3), and a multiemployer plan within the meaning of

section 3(37) of ERISA 29 U.S.C. § 1002(37).

       5.     Plaintiffs, Trustees of International Union of Painters and Allied

Trades District Council 711 Vacation Fund ("Vacation Fund") are the employer

and employee trustees of a labor-management trust fund organized and operated

pursuant to a Trust Agreement and CBA(s) in accordance with section 302(c)(5) of

LMRA, 29 U.S.C. § 186(c)(5). The Vacation Fund is an employee benefit plan

within the meaning of section 3 (3) of ERISA, 29 U.S.C. § 1002(3), and a

multiemployer plan within the meaning of section 3 (37) of ERISA 29 U.S.C.

§ 1002(37).

       6.     Plaintiffs, Trustees of Painters District Council 711 Finishing Trades

Institute ("FTI") are the employer and employee trustees of a labor-management

trust fund organized and operated pursuant to a Trust Agreement and CBA(s) in

accordance with section 302 (c)(5) of LMRA, 29 U.S.C. §186(c)(5). The FTI is an

employee benefit plan within the meaning of Section 3 (3) of ERISA, 29 U.S.C.

§ 1002(3 ), and a multi employer plan within the meaning of Section 3 (3 7) of

ERISA 29 U.S.C. §1002(3 7).



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         7.    Plaintiffs, International Union of Painters and Allied Trades District

Council 711 Health & Welfare Fund, International Union of Painters and Allied

Trades District Council 711 Vacation Fund; and Painters District Council 7 11

Finishing Trades Institute (hereinafter, collectively "Funds") maintain their

principal place of business at 27 Roland Ave, Suite 200, Mt. Laurel, New Jersey

08054.

       8.      The Funds are also the collecting agent for the Labor Management

Cooperation Initiative ("LMCI"), National Finishing Trades Institute of New

Jersey ("N-FTI"), Industry Advancement Fund ("IAF"), the Political Action

Committee ("PAC"), Safety Training Recognition Awards Program ("Stars"), the

Job Targeting Program ("Job Targeting"), and Political Action Together ("PAT").

      9.       The Funds are auth01ized to sue in their own names pursuant to

Section 502(d)(l) ofERISA, 29 U.S.C. §l 132(d)(l).

         10.   The Trustees of the Funds are fiduciaries within the meaning of

Section 3(21) ofERISA, 29 U.S.C. §1002(2l)(A).

         11.   The Funds and their Trustees bring this action on behalf of their

participants and beneficiaries pursuant to Section 502 of ERISA, 29 U.S.C. § 1132,

and Section 301 ofLMRA, 29 U.S.C. §185.

       12.     The Funds are third-party beneficiaries of a Project Labor Agreement

("PLA") to complete a construction project at Kean University Campus, 1000



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Mon-is Avenue, Union, NJ (hereinafter, "Kean Project").

       13.   The Funds are third-paiiy beneficiaries of a Project Labor Agreement

("PLA") to complete a construction project at 485 Marin Boulevard, Jersey City,

New Jersey, 07302 (hereinafter, "Jersey City Project").

       14.   Plaintiff International Union of Painters and Allied Trades District

Council 711 (the "Union") brings this action for dues check-offs and other

contributions owed pursuant to the CBA(s).

       15.   The Union is a labor organization within the meaning of Section 301

of the LMRA, 29 U.S.C. § 185, and Section 3(4) of ERISA, 29 U.S.C. § 1002(4),

and represents employees in an industry affecting commerce.

       16.   The Union maintains it principal place of business at 9 Fadem Road,

Springfield, New Jersey 07081 .


       17.   Defendant, Claremont Construction Group, Inc. (hereinafter,

" Defendant Claremont") is refen-ed to as "Defendant" or "Employer" and "Pa1iy in

Interest" as defined in Sections 3(5) and 3(14) ofERISA, 29 U.S.C. §1002(5) and

(14) respectively, and was or is an employer in an industry affecting commerce

within the meaning of Section 301 ofLMRA, 29 U.S.C. §185.

       18.   Upon information and belief, Defendant, Claremont Construction

Group, Inc. maintained or maintains its principal place of business at 49 Route

202, Far Hills, New Jersey 07931 .


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       19.    Defendant Claremont conducted or conducts business in the State of

New Jersey.

                                   COUNT ONE
                          Failure to Remit Contributions
                   under Section 502 ofERISA, 29 U.S.C. §1132
                        (Kean University PLA/Sky High)

       20.    The Funds incorporate the allegations in Paragraphs I through 19 of

this Complaint as if set forth herein in their entirety.

       21.    On or about February 23, 201 7 Claremont entered into a contract

(hereinafter the "Contract") with University Student Living LLC, acting as a

developer for Provident Group, Kean Properties, LLC (hereinafter "Kean") for the

construction of a student housing building on Kean University Campus, I 000

Morris Avenue, Union, NJ (hereinafter "Kean Project").

       22.    At all times relevant to this action the International Union of Painters

and Allied Trades, District Council 7 11 (hereinafter "Local 7 11 " or "Union") was

party to a Project Labor Agreement (hereinafter "PLA") which governed the work

performed for the construction of the Kean Project.

       23.    At all times relevant to this action, Defendant Claremont also entered

into the same PLA on behalf of Kean for work to be perfom1ed on the Kean

Project, together with the Union County Building and Construction Trades

Council, AFL-CIO, and signatory local unions, including, as stated above, Plaintiff

District Council 711.


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       24.   The PLA specifically incorporates all of the collective bargaining

agreements of each of the trade unions employed on the Kean Project, including

the Collective Bargaining Agreement of District Council 711 (hereinafter "DC 711

CBA"). The DC 711 CBA requires signatory employers to remit fringe benefit

contributions to the Plaintiff Funds for each hour of covered work perfo1111ed on

the Kean Project.

       25.   The Plaintiff Funds are third-party beneficiaries of the PLA.

       26.   The express goals of the PLA include standardizing the te1111s and

conditions governing the employment of labor on the Kean Project, and ensuring a

reliable source of skilled and experienced labor.

       27.   As described below, members of D C 711 who are also paiiicipants

and beneficiaiies of the Plaintiff Benefit Funds perfonned labor pursuant to the

Contract, for which dues checkoffs and fringe benefit contributions are owed for

certain hours of labor performed in accordance with the terms and conditions of the

DC 711 CBA. These contribution delinquencies remain unpaid.

      28.    Defendant Claremont contracted with Sky High Management, LLC,

(hereinafter "subcontractor" or "Sky High") for the latter's performance of a

ce1iain pa1i of the parent Contract, desc1ibed in paragraph 16. Pursuant to A1iicle

2, Sections 1 and 3, the terms of the PLA are binding upon subcontractor Sky High

for work perfonned on the Kean Project.



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       29.   Pursuant to Article 2, Section 4, Supremacy Clause, the PLA together

with the local CBA (of the trade unions perfonning work on the Kean Project)

represents the complete understanding of all signatories.

       30.   By virtue of the PLA, Defendant Claremont agreed to be bound by the

Funds' Trust Agreements.

       31.   At all relevant times, Sky High was party to or agreed to abide by the

tenns and conditions of a CBA(s) with Local 711 or one or more local labor unions

or distiict councils affiliated with the Union.

       32.   The CBA provides that Sky High must make specified dues checkoffs

and fringe benefit contributions to the Funds for work performed by Sky High' s

represented employees on the Kean Project.

       33.   Subcontractor Sky High failed to remit or has only remitted a p01iion

of the required dues checkoffs and contributions to the Funds for the benefit of its

employees who were Union members employed to perfonn the subcontracting

work on the Kean Proj ect.

       34.   Payment of the dues checkoffs and delinquent contributions and

penalties assessed against Sky High has been demanded by the Funds, but Sky

High failed and refused to submit the required payments.

      35.    Pursuant to the PLA when Sky High failed to remit dues checkoffs

and fringe benefit contributions for the work perfom1ed on the Kean Project,



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Claremont was contractually obligated to withhold the amount of Sky High' s

unpaid dues and contributions from any amounts due Sky High for work

perfonned on the Kean Project.

       36.    The PLA requires that should any contractor or subcontractor become

delinquent in the payment of contributions to the fringe benefit funds, then the

subcontractor at their next higher tier, upon notice of the delinquency claim from

the Union or the Funds, agrees to withhold from the subcontractor such disputed

amount from the next advance, or installment payment for the work performed

until the dispute has been resolved.

       3 7.   Despite notice of its contractual obligation under the PLA, Defendant

Claremont failed to withhold the amount of delinquent fringe benefits owed and

failed to remit the required cont1ibutions to the Funds on behalf of Sky High.

       3 8.   Payment of these delinquent contributions and penalties assessed

against Sky High has been demanded by the Funds, but Defendant Claremont has

refused to submit the required payments.

       39.    Such delinquencies constitute prohibited transactions under 29 U.S .C.

§ 1106(a)(l )(B).

       40.    Failure to pay the delinquencies enumerated in the PLA is violative of

29 U.S.C. §1145.

       41.    This action is brought by the fiduciaiies of the Funds pursuant to



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Section 502(g)(2), 29 U.S.C. §1 l 32(g)(2), and Section 515 of ERJSA, 29 U.S.C.

§ 1145, pursuant to which this Court is directed to award all unpaid contributions,

interest, liquidated damages up to or exceeding twenty percent (20%) of the unpaid

contributions, reasonable attorneys' fees , court costs, and any other fees or relief

which the Court deems appropriate.

       WHEREFORE, the Funds respectfully request the following relief:

               (A)   Order Defendant Claremont to pay all contributions due and

owing to the Funds and the Union;

               (B)   Order Defendant Claremont to pay interest on the delinquent

contributions as provided by 29 U.S.C. § l 132(g);

               (C)   Order Defendant Claremont to pay liquidated damages as

provided by 29 U.S.C. § 1 l 32(g);

               (D)   Order Defendant Claremont to pay a penalty of 20% of the

unpaid balance pursuant to the Funds' Collection Policy;

              (E)    Order Defendant Claremont         to   specifically perfonn        all

obligations to the Funds under the CBA;

              (F)    Order Defendant Claremont to pay the Funds' reasonable

attorneys' fees incurred in the prosecution of this action as provided by 29 U.S .C.

§ l l 32(g); and




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              (G)    Order such other and further relief as this Comi may deem

equitable, just and appropriate.

                                   COUNT TWO
                       Failure to Remit Contributions under
                       Section 301 of LMRA, 29 U.S.C. §185
                         (Kean University PLA/Sky High)

       42.    Plaintiffs incorporate the allegations of Paragraphs 1 through 41 of

this Complaint as if set forth herein in their entirety.

       43 .   The PLA provided that if Sky High became delinquent in the payment

of fringe benefits as required by the PLA, Defendant Claremont must withhold

fro m Sky High the amount of the delinquent fringe benefits from the next advance,

or installment payment for work performed until the dispute is resolved.

       44.    Despite notice of its contractual obligation under the PLA and other

documents incorporated into the PLA, including the DC 7 11 CBA and Plaintiff

Funds' Trust Documents, Defendant Claremont fa iled to withhold the amount of

delinquent fringe benefits and dues checkoffs owed and failed to remit the required

contiibutions to the Funds on behalf of Sky High.

       45.    Payment of these delinquent contributions, penalties and dues checkoffs

assessed against Sky High has been demanded by the Funds, but Defendant

Claremont has refused to submit the required payments.

       46.    Plaintiffs have been damaged as a proximate result of the breach of

the PLA and its incorporated documents by Claremont.


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       WHEREFORE, Plaintiff Funds respectfully request that thi s Comi:

               (A)    Order Defendant Claremont to pay delinquent contiibutions due

together with interest, liquidated damages, including attorneys' fees and costs in this

action or collection or enforcement of any judgment, as provided in the CBA and

Trust Agreements and owing to the Funds; and

              (B)     Order such fu1iher legal, equitable or other relief as is just and

proper.

                                   COUNT THREE
                            Failure to Remit Contributions
                     under Section 502 of ERISA, 29 U.S.C. §1132
                             (Jersey City, NJ/Portofino)

       4 7.   The Funds incorporate the allegations in Paragraphs I through 46 of

this Complaint as if set forth herein in their entirety.

       48.    At all relevant times Defendant Claremont was a pmiy to and agreed

to be bound by the terms and conditions of a Project Labor Agreement (hereinafter

"Jersey City PLA") to complete a construction project at 485 Marin Boulevard,

Jersey City, NJ (hereinafter "Jersey City Project").

       49 .   At all times relevant to this action, Local 711 also entered into the

same Jersey City PLA for work to be performed on the Jersey City Project,

together with the Hudson County Building and Construction Trades Council, AFL-

CIO, and signatory local unions, including, as stated above, Local 711.

      50.     The Jersey City PLA specifically incorporates all of the collective


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bargaining agreements of each of the trade unions employed on the Jersey City

Project, including the Collective Bargaining Agreement of District Council 711

(hereinafter "DC 711 CBA"). The DC71 l CBA requires signatory employers to

remit fringe benefit contributions to the Plaintiff Funds for each hour of covered

work performed on the Jersey City Project.

       51.   The Plaintiff Funds are third-party beneficiaries of the Jersey City

PLA.

       52.   The Jersey City PLA governs the work performed in the construction

of the Jersey City Project. The express goals of the Jersey City PLA include

standardizing the terms and conditions governing the employment of labor on the

Jersey City Project, and ensuring a reliable source of skilled and experienced labor.

       53.   As described below, members of Local 711 who are also participants

and beneficiaries of the Plaintiff Benefit Funds, performed labor pursuant to the

Jersey City PLA, for which dues checkoffs and fringe benefit contributions are

owed for certain hours of labor performed in accordance with the tenns and

conditions of the DC7 l 1 CBA. These contribution delinquencies remain unpaid.

       54.   Defendant Claremont contracted with Portofino Contracting, LLC,

(hereinafter "subcontractor" or "Portofino") for the latter' s perfonnance of a

certain paii of the Jersey City Project. Pursuant to A1iicle 2, Sections 1 and 3, the

tenns of the Jersey City PLA are binding upon subcontractor Pmiofino for work



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perfonned on the Jersey City Project.

       55.    Pursuant to Article 2, Section 4, Supremacy Clause, the Jersey City

PLA together with the local collective bargaining agreement (of the trade unions

performing work on the Jersey City Project) represents the complete understanding

of all signatories.

       56.    By virtue of the Jersey City PLA, Defendant Claremont agreed to be

bound by the Funds' Trust Agreements.

       57.    At all relevant times, Portofino was patty to or agreed to abide by the

terms and conditions of a CBA(s) with Local 711 or one or more local labor unions

or district councils affiliated with the Union.

       58.    The DC7 l l CBA provides that P01tofino must make specified dues

checkoffs and fringe benefit contributions to the Funds for work perfonned by

Po1iofino's represented employees on the Jersey City Project.

       59.    Subcontractor Po1iofino failed to remit or has only remitted a portion

of the required dues checkoffs and contributions to the Funds for the benefit of its

employees who were Union members employed to perfonn the subcontracting

work on the Jersey City Project.

       60.   Payment of the dues checkoffs and delinquent contributio ns and

penalties assessed against Portofino has been demanded by the Funds, but

P01iofino failed and refused to submit the required payments.



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        61.    Pursuant to the Jersey City PLA, when Pmiofino failed to remit dues

 checkoffs and fringe benefit contributions for the work performed on the Jersey

 City Project, Claremont was contractually obligated to withhold the amount of

 Portofino's unpaid dues and contributions from any amounts due Pmiofino for

 work perfonned on the Jersey City Project.

        62.    The Jersey City PLA requires that should any contractor or

subcontractor become delinquent in the payment of contiibutions to the fringe

benefit funds, then Claremont must withhold from Po1iofino such disputed amount.

       63 .   Despite notice of its contractual obligation under the Jersey City PLA,

Defendant Claremont failed to withhold the amount of delinquent fringe benefits

owed and failed to remit the required contributions to the Funds on behalf of

Portofino.

       64.    Payment of these delinquent contributions and penalties assessed

against Portofino has been demanded by the Funds, but Defendant Claremont has

refused to submit the required payments.

       65.    Such delinquencies constitute prohibited transactions under 29 U.S.C.

§ 1106(a)(l )(B).

       66.    Failure to pay the delinquencies enumerated in the Jersey City PLA is

violative of 29 U .S.C. §1145 .

       67.    This action is brought by the fiduciaries of the Funds pursuant to



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Section 502(g)(2), 29 U.S .C. §l 132(g)(2), and Section 515 ofERISA, 29 U.S.C.

§ 1145, pursuant to which this Comi is directed to award all unpaid contributions,

interest, liquidated damages up to or exceeding twenty percent (20%) of the unpaid

contributions, reasonable attorneys' fees, court costs, and any other fees or relief

which the Court deems appropriate.

       WHEREFORE, the Funds respectfully request the following relief:

               (A)   Order Defendant Claremont to pay all contributions due and

owing to the Funds and the Union;

               (B)   Order Defendant Claremont to pay interest on the delinquent

contributions as provided by 29 U.S.C. §l l 32(g);

               (C)   Order Defendant Claremont to pay liquidated damages as

provided by 29 U.S.C. § l l 32(g);

              (D)    Order Defendant Claremont to pay a penalty of 20% of the

unpaid balance pursuant to the Funds ' Collection Policy;

              (E)    Order Defendant Claremont        to    specifically perfonn       all

obligations to the Funds under the CBA;

              (F)    Order Defendant Claremont to pay the Funds' reasonable

attorneys' fees incuned in the prosecution of this action as provided by 29 U.S.C.

§ l l 32(g); and




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              (G)    Order such other and fu1iher relief as this Court may deem

equitable, just and appropriate.

                                    COUNT FOUR
                       Failure to Remit Contributions under
                       Section 301 of LMRA, 29 U.S.C. §185
                            (Jersey City, NJ/Portofino)

       68.   Plaintiffs incorporate the allegations of Paragraphs 1 through 67 of

this Complaint as if set forth herein in their entirety.

       69.   The Jersey City PLA provided if Portofino became delinquent in the

payment of fringe benefits as required by the Jersey City PLA, Defendant

Claremont must withhold from P01iofino the amount of the delinquent fringe

benefits.

       70.   Despite notice of its contractual obligation under the Jersey City PLA

and other documents incorporated into the PLA including the DC7 l l CBA and

Plaintiffs' Fund Trust Documents, Defendant Claremont failed to withhold the

amount of delinquent fringe benefits owed and failed to remit the required

contributions to the Funds on behalf of Portofino.

       71.   Payment of these delinquent contributions and penalties assessed

against P01tofino has been demanded by the Funds, but Defendant Claremont has

refused to submit the required payments.

       72.   Plaintiffs have been damaged as a proximate result of the breach of

the PLA and its incorporated documents by Claremont.


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       WHEREFORE, Plaintiff Funds respectfully request that this Court:

             (A)    Order Defendant Claremont to pay delinquent contributions due

together with interest, liquidated damages, including attorneys' fees and costs in this

action or collection or enforcement of any judgment, as provided in the CBA and

Trust Agreements and owing to the Funds; and owing to the Funds; and

             (B)    Order such further legal, equitable or other relief as is just and

proper.



                                  Respectfully submitted,

                                  O'BRIEN, BELLAND & BUSHINSKY, LLC

                                 Attorneys for Plaintiffs



                                 By:   ~&4quire
                                        509 S . Lenola Road
                                        Building 6
                                        Moorestown, NJ 08057
                                        856-795-2181/Fax: 856-581-4214
                                        sbushinsky@obbblaw.com

Dated: November2.1, 2019




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